                Case 6:09-cr-00048-LGW-CLR Document 1145 Filed 10/08/15 Page 1 of 1
AO217 (Rev. 1l/ll)                Motionfor Sentence
                     OrderRegarding                Reduotion     to 18U.S.C.li 3582(cX2)
                                                           Pursuant                                                   p$[
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                                                                                                                        01v.
                                    UNtrBoSrarss DtsrzucrCounr
                                                                    for the                                     ocT-8 Ail8,39
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                                                        SouthemDistrictof Georgia
                                                           StatesboroDivision
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                     UnitedStatesof America

                                                                           CaseNo:       6:o9cRooo48-8
                        Rhett Matthew Sikes

                                                                           USM No:        14240-021
Date of Original Judgment:    !9pt94!9l iq,?!l-o
                                     ?4,20ll
Dateof PrgviousAmendedJudgment:January                                 ) SusanSalterSigok
Ase Date of,l,astAmendedJudgmentifAny)k                                           Attorney
                                                                         Defendant's

                 ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                          PURSUANTTo 18 U.S.C.$ 3s82(c)(2)
       Uponmotionof E the defendant I the Directorofihe BureauofPrisons E the courtunder18U.S.C.
$ 3582(c)(2)for a reductionin thetermof imprisonment imposedbasedon a guidelinesentencing   rangethathas
iubsequenfly beenloweredandmaderefoactiveby theUnitedStates        SentencingCommission  pursuant to 28 U.S C
S 9946), 4ndhavingconsidered    suchmotion,andtakinginto accountthe policy statement setforth at USSG  $18 I .10
andthe sentencing  factorssetforth in 18U.S.C.$ 3553(a),to the extentthattheyareapplicable'
IT IS ORDEREDthatthemolionis:
                                                                                  (asrelected
                                                                    of imprisonment
                                            previouslyimposedsentence                       in
       m DENIED. tr GRANTEDandthe defendant's
the lditjudgment issued)of                                           months is reduced to
                                            (Complete Palts I and II o.fPage 2 vhenmotion is granted)




Exceptasotherwiseprovided,all provisionsofthe judgmentdated
IT IS SO ORDERf,D.




                                                                  DudleyH. Bowen,Jr.
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                      (if dilferentfrom oder date)                                            Printed name and title
